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Honorable Judge Jackson

U.S. District Judge eave to file GRANTE
E, Barrett Prettyman Federal Courthouse J (
333 Constitution Avenue, N.W. z i Ze

f 7.
Washington, D.C. 20001 Amy B. Jackson Date
United States District Judge

Date: 02/12/2020 S PY TENCIOC leteg

Dear Honorable Judge Jackson:

Roger Stone has been my brother-in-law since 1992. Our family has always been close and |
appreciate how he has been so loving and respectful with my sister, Nydia. | always look
forward to spending time with them. What strikes me most about Roger, is his deep,

unconditional love and compassion with family, close friends and pets.

Roger doesn’t announce his compassionate efforts, he takes exemplary action without
hesitation. My mother, his mother and an elderly friend of the family with Parkinson’s, Bob (a
democrat), lived at different times with Roger and Nydia. Roger supported this 100%. Roger
also ensured that my father, with advanced Alzheimer’s for many years had nursing care to the
end of his days here on earth. | am eternally grateful for this. He helped with their son’s
education expenses. You could say that Roger “walks the walk” when it comes to loving family
unconditionally and regardless of political preferences. Nydia’s children and grandchildren are

his family. My parents were his family and he loves his immediate family.
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| lived with them for a short time during a personally challenging time in the late 1980’s. He
didn’t even complain when my sick cat wetted their living room chair. They upholstered the
chair and | made sure to watch out that my cat didn’t do it again. His compassion shines with
pets. For example, they took in a dog found wandering the streets, limping and hungry. Vet
care, even amputating the disabled, painful leg was taken care of so he could live a comfortable,

happy life,

One of the eye-opening experiences | had with Roger was when | was leaving their home after
the holidays a few years ago. Roger was sitting in a comfortable chair and | walked up to him. |
said, “Roger, |am a democrat, but | love you.” He stood up, tears came to his eyes and he gave

me the most amazing, embracing hug.

These years have been extremely stressful and expensive, leaving Roger and Nydia without
funds. Nydia is 72 years old and has no other source of support. Please consider not sending

Roger to jail as this will destroy their lives.

Sincerely,

Diana Bertran
